Case 3:17-cr-00119-RGJ-HBB Document 118 Filed 04/09/21 Page 1 of 1 PageID #: 745




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

 UNITED STATES OF AMERICA                                                          PLAINTIFF


 v.                                                CRIMINAL ACTION NO. 3:17-CR-00119-RGJ


 JIHAD HAQQ                                                                      DEFENDANT

                                            ORDER

        This matter having come before the Court on the Motion of the United States to

 Withdraw its previously filed Motion for Destruction and/or Disposal of Evidence (DN 111), and

 the Court being otherwise sufficiently advised,

        IT IS HEREBY ORDERED that the Motion for leave to withdraw DN 111 is

 GRANTED.

        IT IS FURTHER ORDERED that DN 111, the United States’ Motion for Destruction

 and/or Disposal of Evidence, is hereby WITHDRAWN and terminated from the docket.




        April 9, 2021
